            Case 1:02-at-06000-UN
                 3:20-cv-00514-MEMDocument
                                    Document
                                           316
                                             1 Filed 03/31/20 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LARRY PAPI and DONNA JAMES,                     §
                                                §        Case No. ______________
      Plaintiffs,                               §
                                                §
      v.                                        §
                                                §
SWC GROUP,                                      §
                                                §
      Defendant.                                §

                DEFENDANT SWC GROUP L.P.’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant SWC Group, L.P. (“SWC”),

improperly named as SWC Group, hereby removes the subject action from the Court of

Common Pleas of Lackawanna County, Pennsylvania, to the United States District Court for the

Middle District of Pennsylvania, on the following grounds:

       1.      Plaintiffs Larry Papi and Donna James (“Plaintiffs”) instituted an action in the

Court of Common Pleas of Lackawanna County, Pennsylvania on or about March 2, 2020.

       2.      SWC was served on March 10, 2020. Therefore, removal is timely.

       3.      Plaintiffs’ Complaint alleges violations of the Telephone Consumer Protection

Act, 47 U.S.C. § 227 et seq. (“TCPA”).

       4.      The Court has original jurisdiction over this matter pursuant to 28 U.S.C. §1331,

since the action – an alleged violation of the TCPA – arises under the laws of the United States.

       5.      Pursuant to 28 U.S.C. §1441, et seq., this cause may be removed from the Court

of Common Pleas of Lackawanna County, Pennsylvania to the United States District Court for

the Middle District of Pennsylvania.

       6.      Notice of this removal will promptly be filed with the Court of Common Pleas of

Lackawanna County, Pennsylvania and will be served on all adverse parties.
            Case 1:02-at-06000-UN
                 3:20-cv-00514-MEMDocument
                                    Document
                                           316
                                             1 Filed 03/31/20 Page 2 of 3



       7.      Pursuant to 28 U.S.C. §1446(a), copies of all process, pleadings, orders and other

papers filed in this action and obtained by Defendant are attached hereto and marked as

composite Exhibit A and are incorporated herein by reference.

       WHEREFORE, Defendant SWC Group, L.P. removes the subject action from the Court

of Common Pleas of Lackawanna County, Pennsylvania to the United States District Court for

the Middle District of Pennsylvania.

                                                    Respectfully Submitted,

Date: March 31, 2020                                METZ LEWIS BRODMAN MUST
                                                    O’KEEFE LLC

                                                    By: /s/ Justin M. Tuskan
                                                        Justin M. Tuskan (PA I.D. 311235)
                                                        535 Smithfield Street, 8th Floor
                                                        Pittsburgh, PA 15222
                                                        Phone: (412) 918-1100
                                                        Fax: (412) 918-1199
                                                        jtuskan@metzlewis.com
                                                        Attorneys for Defendant SWC Group
         Case 1:02-at-06000-UN
              3:20-cv-00514-MEMDocument
                                 Document
                                        316
                                          1 Filed 03/31/20 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Removal has been

served upon the following this 31st day of March, 2020 via Electronic Mail:


                                        Joseph T. Sucec
                                          PO Box 317
                                     Grantham, PA 17027
                                     joesucec@gmail.com
                                     Attorney for Plaintiffs


                                                    METZ LEWIS BRODMAN MUST
                                                    O’KEEFE LLC

                                                    By: /s/ Justin M. Tuskan
                                                        Justin M. Tuskan
